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     888 SW Fifth Avenue, Suite 1600
10   Portland, OR 97204-2099

11           Attorneys for Debtors

12

13                               UNITED STATES BANKRUPTCY COURT
14                                         DISTRICT OF OREGON
15
     In re                                                          Case No. 19-62584-pcm11
16                                                                  LEAD CASE
     NORPAC Foods, Inc. [TIN 9330],
17   Hermiston Foods, LLC [TIN 7444], and                           (Jointly Administered with Case
     Quincy Foods, LLC [TIN 3927],                                  Nos. 19-33102-pcm11 and
18                                                                  19-33103-pcm11)
                              Debtors.
19                                                                  DECLARATION OF ORDINARY
                                                                    COURSE PROFESSIONAL
20

21                    I, Joseph D. Olson, hereby declare that the following is true to the best of my
22   knowledge, information and belief:
23                    1.      I am a Partner of PricewaterhouseCoopers LLP (“The Firm”), which
24   maintains offices at 805 SW Broadway, Suite 800, Portland, Oregon 97205.
25                    2.      The Firm is not an equity security holder of NORPAC Foods, Inc.,
26   Hermiston Foods, LLC, or Quincy Foods, LLC (“Debtors”).
Page 1 of 3 - DECLARATION OF ORDINARY COURSE PROFESSIONAL

                                                     Tonkon Torp LLP
                                                 888 SW Fifth Ave., Suite 1600
                                                      Portland, OR 97204
                                                        503.221.1440
                            Case 19-62584-pcm11              Doc 318             Filed 10/30/19
 1                  3.      The Firm is not a partnership in which Debtors are a general partner.

 2                  4.      The Firm is not a general partner of Debtors.

 3                  5.      The Firm is not a corporation of which Debtors are a director, officer, or

 4   person in control.

 5                  6.      The Firm is not and was not, within two years before the date of the filing

 6   of the petition on August 22, 2019, a director, officer, or employee of Debtors.

 7                  7.      The Firm is not a person in control of Debtors.

 8                  8.      The Firm is not a relative of a director, officer, or person in control of

 9   Debtors.

10                  9.      The Firm is not the managing agent of Debtors.

11                  10.     The Firm is not and was not an investment banker for any outstanding

12   security of Debtors; has not been, within three years before August 22, 2019, an investment

13   banker for a security of Debtors, or an attorney for such an investment banker in connection with

14   the offer, sale, or issuance of a security of Debtors; and is not and was not, within two years

15   before the date of the filing of the petition on August 22, 2019, a director, officer, or employee of

16   such an investment banker.

17                  11.     To the best of my knowledge, formed after due inquiry, neither I, the

18   Firm, nor any employee thereof, holds or represents, by reason of any direct or indirect

19   relationship to, connection with, or interest in Debtors, any interest adverse to Debtors, their

20   estates or any class of creditors or equity interest holders, other than unpaid amounts that may be

21   owing for prepetition services.

22                  12.     The Firm has no interest materially adverse to the interests of Debtors or

23   any class of creditors or equity security holders on the matters in which it is employed.

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Page 2 of 3 - DECLARATION OF ORDINARY COURSE PROFESSIONAL

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 1                  13.     In the past year, the Firm has received the following payments from

 2   Debtors, totaling $81,011:
                                                                                 Payment        Amount
 3                          Type of Services
                                                                                 Date           Paid
                            2017 Tax Compliance Services                            2/11/2019      27,516
 4                          2018 Tax Compliance Services                             7/5/2019       2,800
 5                          3/31/19 YE Provision Services                           6/3/2019       22,193
                            3/31/19 YE Provision Services                           7/8/2019       25,575
 6                          3/31/19 YE Provision Services                          8/12/2019        2,927
                            Total Payments                                                         81,011
 7
                    14.     The Firm is currently owed $17,382 on account of services rendered to
 8
     Debtors prior to August 22, 2019 relating to amounts owed on the 2017 tax compliance services.
 9
                    15.     The Firm is not an affiliate of Debtors.
10
                    16.     In light of the foregoing, I believe the Firm does not hold or represent any
11
     interest materially adverse to Debtors, their estates, creditors, or equity interest holders as
12
     identified to the Firm with respect to the matters on which the Firm will be engaged.
13
                    17.     The Firm further states it has not shared, nor agreed to share, any
14
     compensation received in connection with this Case with another party or person other than
15
     members or employees of the Firm.
16
                    DATED this 30th day of October, 2019.
17

18
                                                      /s/ Joseph D. Olson
19                                                    Joseph D. Olson
                                                      PricewaterhouseCoopers LLP
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